                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

TEMPUR-PEDIC NORTH AMERICA,
LLC, TEMPUR-PEDIC MANAGEMENT,
LLC, and DAN-FOAM APS,

     Plaintiffs,

v.                               Case No. 8:18-cv-2147-T-33SPF

MATTRESS FIRM, INC.,
THER-A-PEDIC ASSOCIATES, INC.,
SINOMAX GROUP LIMITED, and
SINOMAX USA INC.,

     Defendants.
______________________________/
                                ORDER
     This matter comes before the Court upon consideration of

Plaintiffs    Tempur-Pedic    North   America,   LLC,      Tempur-Pedic

Management, LLC, and Dan-Foam ApS’s Motion for Temporary

Restraining Order (Doc. # 7) and Motion for Preliminary

Injunction (Doc. # 8), both filed on August 28, 2018. For the

reasons that follow, the Court denies the Motion for Temporary

Restraining   Order   and    refers   the   Motion   for   Preliminary

Injunction to the Magistrate Judge for the issuance of a

Report and Recommendation.

I.   Discussion

     Plaintiffs initiated this action on August 28, 2018,

alleging violations of the Lanham Act, 15 U.S.C. § 1501 et



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seq., and other trade dress, trademark dilution, and unfair

competition claims against Defendants. (Doc. # 1). In short,

Plaintiffs       allege     Defendants             “infring[ed]          Plaintiffs’

valuable    Tempur-Pedic         trademarks,            trade    dress    and     other

elements    of    its     brand    in       conjunction          with    Defendants’

manufacture, distribution, use and sale of the competing

Therapedic brand mattresses.” (Doc. # 7 at 2).

      Also, on August 28, 2018, Plaintiffs filed a Motion for

Temporary    Restraining          Order         (Doc.     #    7),   a   Motion       for

Preliminary Injunction (Doc. # 8), and a Memorandum in Support

of   both   Motions      (Doc.     #    9).       Along       with   those    Motions,

Plaintiffs filed a declaration and a supplemental declaration

of Tempur-Pedic’s Executive Vice President & President of

North   America,        Richard        W.       Anderson.       (Doc.    ##    10-11).

Plaintiffs    insist      that     a    temporary         restraining         order    is

necessary because the upcoming Labor Day weekend is “one of

the bedding industry’s biggest sales weekends” and allowing

Defendants to sell the allegedly infringing mattresses over

this weekend would result in “loss of control and dilution of

Tempur-Pedic’s valuable trademarks and brand, and loss of its

goodwill with the Tampa-area and national consuming public.”

(Doc. # 7 at 2).




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      On the basis of the Complaint (Doc. # 1), the Motion for

Temporary Restraining Order (Doc. # 7), Memorandum in Support

(Doc. # 9), and declarations (Doc. ## 10-11), this Court finds

that Plaintiffs have not met their initial burden for the

issuance of a temporary restraining order pursuant to Federal

Rule of Civil Procedure 65 and Middle District of Florida

Local Rule 4.05.

      A court may issue a temporary restraining order if the

movant establishes: “(1) a substantial likelihood of success

on the merits; (2) that irreparable injury will be suffered

if the relief is not granted; (3) that the threatened injury

outweighs the harm the relief would inflict on the non-movant;

and (4) that entry of the relief would serve the public

interest.” Schiavo ex rel. Schindler v. Schiavo, 403 F.3d

1223, 1225-26 (11th Cir. 2005). “The movant bears the burden

of   establishing   entitlement       to   a   temporary   restraining

order.” Edwards v. Cofield, No. 3:17-CV-321-WKW, 2017 WL

2255775, at *1 (M.D. Ala. May 18, 2017)(citing Parker v. State

Bd. of Pardons & Paroles, 275 F.3d 1032, 1034–35 (11th Cir.

2001)).

      “Before addressing whether [Plaintiffs have] met this

four-prong showing, however, the Court must first consider

whether [Plaintiffs have] shown adequate justification for


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failing to give notice to [Defendants].” Emerging Vision,

Inc. v. Glachman, No. 10-80734-CIV, 2010 WL 3293346, at *3

(S.D. Fla. June 29, 2010), report and recommendation adopted,

No. 10-80734-CIV, 2010 WL 3293351 (S.D. Fla. Aug. 11, 2010).

A court may issue a temporary restraining order without notice

to the adverse parties or their attorneys only if:

     (A) specific facts in an affidavit or a verified
     complaint   clearly   show   that   immediate   and
     irreparable injury, loss, or damage will result to
     the movant before the adverse party can be heard in
     opposition; and
     (B) the movant’s attorney certifies in writing any
     efforts made to give notice and the reasons why it
     should not be required.
Fed. R. Civ. P. 65(b)(1)(A)-(B).

     “To obtain ex parte relief, a party must strictly comply

with these requirements. They are not mere technicalities,

but establish minimum due process.” Emerging Vision, Inc.,

2010 WL 3293346, at *3 (citations and internal quotation marks

omitted). A plaintiff cannot evade the requirements of Rule

65(b)(1) and “obtain an ex parte restraining order by merely

pointing to the merits of its claims. Indeed, such an argument

would swallow Rule 65(b)(2)’s requirement that the court

consider not only the ‘need for the restraining order,’ but

also ‘the need for proceeding ex parte.’” Adobe Sys., Inc. v.




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S.   Sun     Prod.,      Inc.,    187     F.R.D.      636,     641     (S.D.       Cal.

1999)(citations omitted).

     Here, Plaintiffs have submitted the sworn supplemental

declaration of Anderson to satisfy Rule 65(b)(1)(A). (Doc. #

11). But Plaintiffs’ counsel has not filed a certification as

required under Rule 65(b)(1)(B). See Kazal v. Price, No. 8:17-

cv-2945-T-23AAS, 2017 WL 6270086, at *4 (M.D. Fla. Dec. 8,

2017)(denying motion for temporary restraining order in part

because “[t]he plaintiffs’ attorneys fail[ed] to submit an

affidavit certifying an effort to notify [the defendant]

about the motion and fail[ed] to explain the necessity for an

ex parte order”).

     Furthermore,         no     mention      is   made   in    the     Motion       or

Memorandum of any efforts to notify Defendants about the

temporary restraining order Plaintiffs seek.                          See    Thomas-

McDonald v. Shinseki, No. CV 113-050, 2013 WL 12121316, at *1

(S.D.      Ga.    Apr.    3,     2013)(denying        motion     for     temporary

restraining order in part because the certification filed by

Plaintiff’s counsel “did not discuss good faith efforts to

provide the individual Defendants with notice”); see also

Wildman      v.    Wildman,      No.    8:16-cv-1268-T-27MAP,               2016     WL

9223822, at *1 (M.D. Fla. May 26, 2016)(denying motion for

temporary        restraining      order       where   “Plaintiff        [did]       not


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provide[] any indication that she . . . made any effort to

give notice to Defendant” and noting that “informal notice

may be permitted in lieu of formal service”).

     And, while the Motion asserts Plaintiffs “will suffer

imminent    aggravated    irreparable     harm    to   their    valuable

trademarks and other brand elements . . . pending notice and

the scheduling of a hearing” on the Motion for Preliminary

Injunction, this assertion is insufficient. The Court is not

satisfied with the claim that, because there is no time for

notice and a hearing before Defendants’ Labor Day sale,

Plaintiffs’ responsibility to even attempt to give notice of

its Motion for Temporary Restraining Order is absolved. In

short, Plaintiffs’ counsel has not provided a sufficient

certification concerning efforts at giving notice and why

notice should not be required. See Nuclear Care Partners, LLC

v. Nuclear Care Providers, LLC, No. CV 112-070, 2012 WL

12883230, at *1 (S.D. Ga. May 7, 2012)(denying motion for

temporary restraining order and noting that               “Plaintiff’s

counsel has failed to certify in writing the reasons why

notice should be excused under the circumstances of this

case”).

     Therefore,    Plaintiffs      have   not     established       that   a

temporary   restraining    order    should   be    granted     ex    parte.


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Plaintiffs’   “failure to provide the information required

under Rule 65(b)(1)(B) is fatal to its request for TRO without

notice.” Living v. Merscorp Inc., No. 1:10-CV-3410-JEC-JFK,

2010 WL 11552958, at *3 (N.D. Ga. Oct. 26, 2010), report and

recommendation   adopted,   No.   1:10-CV-3410-JEC,   2010   WL

11553003 (N.D. Ga. Dec. 17, 2010). The Court is mindful that

“‘[a]n ex parte temporary restraining order is an extreme

remedy to be used only with the utmost caution,’ and the Court

is unwilling to permit use of this extreme remedy in light of

these deficiencies.” Thomas-McDonald, 2013 WL 12121316, at *1

(quoting Levine v. Comcoa Ltd., 70 F.3d 1191, 1194 (11th Cir.

1995)). The Motion for Temporary Restraining Order is denied.

      Additionally, for the sake of judicial economy and to

expedite the proceedings, the Court refers the Motion for

Preliminary Injunction (Doc. # 8) to the Honorable Sean P.

Flynn, United States Magistrate Judge, pursuant to 28 U.S.C.

§ 636(b)(1)(B), for an evidentiary hearing and the issuance

of a Report and Recommendation.

      Accordingly, it is

      ORDERED, ADJUDGED, and DECREED:

(1)   Plaintiffs Tempur-Pedic North America, LLC, Tempur-Pedic

      Management, LLC, and Dan-Foam ApS’s Motion for Temporary

      Restraining Order (Doc. # 7) is DENIED.


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(2)   Plaintiffs’ Motion for Preliminary Injunction (Doc. # 8)

      is referred to the Honorable Sean P. Flynn, United States

      Magistrate Judge, pursuant to 28 U.S.C. § 636(b)(1)(B),

      for an evidentiary hearing and the issuance of a Report

      and Recommendation.

      DONE and ORDERED in Chambers in Tampa, Florida, this

29th day of August, 2018.




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